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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

 TONY N. BURELL AND/OR                                   §
 SUCCESSOR AND ASSIGNS,                                  §
                                                         §
 Plaintiffs,                                             §
                                                         §
 v.                                                      §      CIVIL ACTION NO. 5:22-CV-379
                                                         §
 WILMINGTON SAVINGS FUND                                 §
 SOCIETY, FSB, AS TRUSTEE OF                             §
 STANWICH MORTGAGE LOAN                                  §
 TRUST I and CARRINGTON                                  §
 MORTGAGE SERVICES, LLC,                                 §
                                                         §
                                                         §
 Defendants.                                             §


                                     STIPULATION OF DISMISSAL


        The parties file this Stipulation of Dismissal and in support thereof would respectfully show

the Court as follows:

There are no longer any issues in this matter between Plaintiff and Defendants to be determined

by this Court. The Parties hereby stipulate that all claims and causes of action that were or could

have been asserted against Defendants are hereby dismissed with prejudice, with court costs and

attorneys’ fees to be paid by the party incurring same.

Agreed:

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 San Antonio, Texas 78209
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 By: /s/ Jason A. Wilkes                           By: __/s/ Melissa Gutierrez____________
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 State Bar No. 24093368                            Texas Bar No. 24077588
 JWilkes@mayerllp.com                              Bradley Arant Boult Cummings LLP
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_____________________________________________________________________________________________________________________
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